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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division

JODI C. MAHDAVI,

                        Plaintiff,


                v.                                           Civil Action No. __________

NEXTGEAR CAPITAL, INC.,

and

P.A.R. SERVICES, INC.

                        Defendants.

                                             ORDER

           Upon consideration of the Consent Motion for Extension of the Rule 26(a)(1)

Disclosure Deadline, the consent of the parties, and the entire record, it is this ____________ day

of August, 2014, ORDERED:

      1.   The Consent Motion for Extension of the Rule 26(a)(1) Disclosure Deadline is

           GRANTED; and it is further

      2.   ORDERED that no hearing shall be held on this Motion given the consent by the

           parties; and it is further

      3.   ORDERED the joint discovery plan and the Court’s scheduling order shall be amended

           to require all Rule 26(a)(1) disclosures by Friday, August 22, 2014.



                                                     __________________________________
                                                     Judge, United States District Court
                                                     For the Eastern District of Virginia
